                    IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

ELECTRICAL EQUIPMENT                       )
COMPANY,                                   )
                                           )
              Plaintiff,                   )
                                           )
       v.                                  )              1:19CV74
                                           )
L. FRANCIS CISSNA,                         )
                                           )
              Defendant.                   )

                                          ORDER

       This matter is before the Court on Defendant’s Motion for Extension of Time.

(ECF No. 10.) Plaintiff consents to the requested extension.

       Based on representations to the Court and for good cause shown, the Court will

allow the extension by consent.

       IT IS ORDERED that the motion is GRANTED and the Defendant has up to and

including June 7, 2019 to file an answer or other respond to Plaintiff’s complaint.

       This, the 4th day of June, 2019.



                                        /s/ Joi Elizabeth Peake         .
                                    United States Magistrate Judge




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